         Case 1:20-cv-11889-MLW Document 72 Filed 03/25/21 Page 1 of 2
                                                                                                 1


                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

                                                              CASE No. 1:20-CV-11889-MLW

Dr. SHIVA AYYADURAI                     )
            Plaintiff,                  )
                                        )
                 v.                     )
                                        )
WILLIAM FRANCIS GALVIN,                 )
MICHELLE K. TASSINARI,                  )
DEBRA O’MALLEY,                         )              JURY DEMANDED
AMY COHEN,                              )
NATIONAL ASSOCIATION OF )
STATE ELECTION DIRECTORS, )
all in their individual capacities, and )
WILLIAM FRANCIS GALVIN,                 )
in his official capacity as Secretary )
of State for Massachusetts,             )
                 Defendants.            )

                           REQUEST FOR LEAVE TO FILE A REPLY

1       On March 11, 2021, Defendants Cohen and NASED filed their joint opposition to

Plaintiff’s motion for joinder.

2       Their opposition contains deliberate errors of fact that must be corrected in order to

protect the integrity of the judicial process.

3       Based on the accompanying memorandum of law, the Plaintiff respectfully requests the

court’s leave to file the attached [proposed] reply.

        Respectfully submitted under the pains and penalties of perjury,
                                                       /s/ Dr. Shiva Ayyadurai
                                                       _____________________
                                                       Dr. Shiva Ayyadurai
                Date: March 25, 2021                   Plaintiff, pro se
                                                       701 Concord Ave,
                                                       Cambridge, MA 02138
                                                       Phone: 617-631-6874
                                                       Email: vashiva@vashiva.com



                                                  1
        Case 1:20-cv-11889-MLW Document 72 Filed 03/25/21 Page 2 of 2
                                                                                                   2


                          CERTIFICATE OF CONFERRAL PER LR 7.1
       Plaintiff certifies that he conferred with counsel for Cohen and NASED and they have
taken no position on this motion.

       Respectfully submitted under the pains and penalties of perjury,
                                                     /s/ Dr. Shiva Ayyadurai
                                                     _____________________
              Date: March 25, 2021                   Dr. Shiva Ayyadurai
                                                     Plaintiff, pro se
                                                     701 Concord Ave,
                                                     Cambridge, MA 02138
                                                     Phone: 617-631-6874
                                                     Email: vashiva@vashiva.com


                                    CERTIFICATE OF SERVICE
       Plaintiff certifies that he served this request upon the Defendants via their counsel via
ECF.

       Respectfully submitted under the pains and penalties of perjury,
                                                     /s/ Dr. Shiva Ayyadurai
                                                     _____________________
              Date: March 25, 2021                   Dr. Shiva Ayyadurai
                                                     Plaintiff, pro se
                                                     701 Concord Ave,
                                                     Cambridge, MA 02138
                                                     Phone: 617-631-6874
                                                     Email: vashiva@vashiva.com




                                                 2
